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                            No. 22-7063
                                IN THE

          UNITED STATES COURT OF APPEALS
                               FOR THE

             DISTRICT OF COLUMBIA CIRCUIT
                           _______________

American Society for Testing and Materials, et al.,

                             Appellants,
vs.

Public.Resource.Org, Inc.,

                             Appellee.
                          _______________
                         On Appeal from
         U.S. District Court for the District of Columbia
                  Honorable Tanya S. Chutkan
                   Case No. 1:13-cv-1215-TSC
                          _______________

 BRIEF OF AMICI CURIAE AMERICAN MEDICAL ASSOCIATION,
            AMERICAN DENTAL ASSOCIATION,
         AND AMERICAN HOSPITAL ASSOCIATION
               IN SUPPORT OF APPELLANTS
                      _______________
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CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

     (A) Parties and Amici. Except for the following, all parties, in-

terveners, and amici appearing before the district court and in this

Court are listed in the Appellants’ Brief filed on September 16, 2022:

     American Medical Association

     American Dental Association

     American Hospital Association

     (B) Rulings Under Review. References to the rulings at issue

appear in the Appellants’ Brief filed on September 16, 2022.

     (C)   Related Cases. This case was previously before this Court

in No. 17-7035, American Society for Testing and Materials, et al. v.

Public.Resource.Org, Inc. Counsel are not aware of any other related

cases before this Court or any other court.




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             CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and Cir-

cuit Rule 26.1, Amici Curiae state that the American Medical Associ-

ation, American Dental Association, and American Hospital Associa-

tion have no parent corporations and no publicly held company has

a 10% or greater ownership interest in them. The Associations are

not-for-profit associations whose membership includes physicians,

dentists, hospitals, and hospital administrators.




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                     INTEREST OF AMICI CURIAE1

     This case concerns unauthorized publication of standards cre-

ated by private standard-setting organizations that were subse-

quently incorporated into law. Amici associations have authored cop-

yrighted coding works and related forms (including instructions and

guidelines) used by physicians, dentists, and hospitals to digitally

record the services they have performed for patients. These copy-

righted works (“Coding Works” or “Works”) are used, inter alia, by

insurers in determining payment for those services.

     Government agencies have required that claims submitted to

those agencies for payment for those services must use these Coding

Works, but these Works are in no sense “the law.” Submitting a claim

that does not use these Works is not unlawful. It will simply result in

denial of the claim.



1 This brief is submitted under Fed. R. App. P. 29(a) with the consent

of all parties. Undersigned counsel for Amici certify that this brief was
not authored in whole or part by counsel for any of the parties; no
party or party’s counsel contributed money for the brief; and no one
other than Amici and their counsel have contributed money for this
brief. Under Circuit Rule 29(d), Amici state that a separate amicus
brief is necessary because the interests of the three Amici, as owners
of copyrights in coding works whose use is required by government,
are unique to these Amici.

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      Nevertheless, the decision in this appeal may affect Amici’s abil-

ity to enforce their copyrights in their Works—as well as any stand-

ards they have developed that have been adopted by government.

More specifically, a ruling against Appellants may undermine Amici’s

ability to devote the resources necessary to maintain and improve the

usefulness of their Works (as medicine, dentistry, and hospital ser-

vices constantly evolve), and to safeguard the uniformity of those

Works in the interests of efficient coding of services and promoting

interoperability of medical and dental records systems. Thus, such a

ruling would subvert the public-private relationship that has well

served our government and our society for over a century.

      The American Medical Association (“AMA”) is the largest profes-

sional association of physicians, residents, and medical students in

the United States. It holds the copyright in a work entitled “Current

Procedural Terminology” (“CPT”)—the most widely accepted nomen-

clature for reporting physician procedures and services. See Practice

Mgmt. Info. Corp. v. AMA, 121 F.3d 516, 517 (9th Cir. 1997),

amended, 133 F.3d 1140 (9th Cir. 1998) (“PMIC”). Since at least

1983, the federal government has required use of CPT for a physician




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to obtain reimbursement under the Medicare and Medicaid pro-

grams. See 48 Fed. Reg. 16750, 16753 (Apr. 19, 1983). In 2000,

Health and Human Services (“HHS”) designated CPT as a standard

code set under Section 1173 of the Health Insurance Portability and

Accountability Act of 1996, Pub. L. No. 104-191, 110 Stat. 1936

(1996) (“HIPAA”), codified at 42 U.S.C. § 1320d-3. Because health

care providers must “comply with [any] standard or specification”

designated by HHS, HIPAA § 1175(b)(1)(A), use of CPT is required to

report physician services for all financial and administrative health

care transactions sent electronically. See also 65 Fed. Reg. 50312,

50323-30 (Aug. 17, 2000).

      The American Dental Association (“ADA”) is the nation’s largest

dental association, representing more than 161,000 dentist members

across the country. It holds the copyright in the “Code on Dental Pro-

cedures and Nomenclature” (“CDT”). See ADA v. Delta Dental Plans

Ass’n, 126 F.3d 977 (7th Cir. 1997). In 2000, HHS designated CDT

as a HIPAA-compliant code set. 65 Fed. Reg. at 50323-30. Health

care providers must use CDT to report dental services for all financial

and administrative health care transactions sent electronically.




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HIPAA § 1175(b)(1)(A). As with CPT, HHS requires use of CDT in sub-

mitting claims for reimbursement. See Dep’t of HHS, Pub. 100-04,

Transmittal 43 (Dec. 19, 2003); 42 C.F.R. § 433.112(b)(2). The ADA

also holds copyrights in standards it has developed for dental prod-

ucts and informatics.

      The American Hospital Association (“AHA”) represents more

than 5,000 hospitals, health care systems, and other health care or-

ganizations. It has more than 42,000 individual members. AHA owns

the copyright in the Official UB-04 Data Specifications Manual, a uni-

form billing form that institutional health care providers must use to

submit claims to the government and third-party payers. As with CPT

and CDT, the federal government mandates the use of UB-04 when

submitting claims to Medicare and Medicaid. See 42 C.F.R. §

424.32(b); see also Dep’t of HHS, Pub. 100-04, Transmittal 1104

(Nov. 3, 2006) (requiring UB-04 for billing the Centers for Medicare &

Medicaid Services (“CMS”)).

      It is essential for Amici to maintain their ability to enforce their

copyrights in their Coding Works for at least two reasons. First, ab-

sent this ability, Amici would lack the resources to support continu-

ous updating of those Works. Second, Amici would be unable to


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maintain the uniformity of coding critical to efficient coding and pro-

moting the interoperability of electronic health records.

                     SUMMARY OF ARGUMENT

      This case involves a system of public-private cooperation that

has existed for over a hundred years. This system has allowed the

federal government to use, and require use of, privately developed

works of authorship that have enabled the government to avoid the

substantial administrative and financial burdens associated with

creating, maintaining, and updating complex works that can most

effectively be authored and kept current by private entities having the

most knowledge about their respective fields.

      Amici begin by explaining the importance of maintaining the

ability to enforce copyrights in their Works. We then address two legal

issues: (1) whether a governmental requirement to use a privately

authored work deprives the work’s author of its copyright; and (2)

whether copying substantial portions of the copyrighted work consti-

tutes “fair use” under Section 107 of the Copyright Act, where the

copy does not transform the work and the work is readily available.

      Government-required use of a copyrighted work should not in




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any way divest the copyright holder of its copyright in that work. In-

deed, the federal agency that implements Medicare and Medicaid has

stated that its decision to require use of privately created code sets is

not intended to divest the copyright holder of the copyright. 65 Fed.

Reg. 50312, 50324 (“[N]othing in this final rule, including the Secre-

tary’s designation of standards, implementation specifications, or

code sets is intended to divest any copyright holders of their copy-

rights in any work referenced in this final rule”). And courts have held

that required use of copyrighted works by the government does not

divest the copyright. See, e.g., PMIC, 121 F.3d at 518-19.

      To be sure, statutory language and judicial opinions are not

copyrightable. But this rule has been limited to government-authored

works such as statutes, judicial opinions, and government-commis-

sioned works-for-hire. See Georgia v. Public.Resource.Org, Inc., 140

S. Ct. 1498, 1508 (2020). It does not extend to copyrights in privately

created works whose use is required by the government—particularly

where those works have additional uses.

      Nor should copying and reproducing copyrighted works be con-

sidered “fair use” on the facts of this case. The expansive reading of

Section 107’s fair use provisions advocated by PRO and adopted by


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the district court would undermine the principle—recognized by Con-

gress, federal agencies, and federal courts—that required use of pri-

vately created works like Amici’s Coding Works does not divest the

copyright in those works. A conclusion that any substantial, unli-

censed copying of these works for the purposes for which they were

created constitutes “fair use” where those works are readily available

would leave the copyright technically intact, but effectively prevent

enforcement of that copyright and thus render it largely meaningless.

Indeed, Section 108 of the Copyright Act—which allows libraries or

archives to make one non-commercial copy of a work—further evi-

dences that Section 107’s fair use provision was not intended to per-

mit the copying by PRO or any substantial copying of Amici’s Coding

Works.

        In short, this Court should not find fair use where, as here, the

use is not transformative, the copying is substantial, and the copy-

righted work is not only available for free viewing as authorized by

the copyright holder, but readily available in full for a reasonable roy-

alty.




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                              ARGUMENT

I.    Background: The federal government has long relied on—
      and benefited from—authorship of copyrighted works by
      private entities.

      The federal government has long recognized the benefits of re-

lying on the private sector to satisfy its need for certain kinds of

works, including standards and Coding Works. Private organizations

are able to create such works more quickly and efficiently than the

government. Moreover, practical difficulties may hamper the govern-

ment’s ability to create such works on its own. Nat’l Research Coun-

cil, Standards, Conformity Assessment, & Trade: Into the 21st Cen-

tury, at 56 (1995).

      Federal agencies often lack the time, resources, or expertise to

create and update these types of works. Relying on privately authored

works “eliminates the costs to the Government of developing its own

standards,” while furthering the “policy of reliance upon the private

sector to supply government needs for goods and services.” OMB,

Circular No. A-119, 58 Fed. Reg. 57643, 57645 (Oct. 26, 1993). In-

deed, OMB’s guidance evinces “a strong preference for using volun-

tary consensus standards over government-unique standards in Fed-

eral regulation and procurement.” Id.


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      Amici’s Coding Works perfectly exemplify the benefits of govern-

ment reliance on privately created works. In 1977, Congress directed

the Health Care Financing Administration to establish uniform codes

for coding physician services. See 42 U.S.C. § 1395w-4(c)(5). Instead

of creating new codes from scratch, the government incorporated CPT

into the Healthcare Common Procedure Coding System (“HCPCS”).

See 48 Fed. Reg. 16750, 16753 (Apr. 19, 1983); 50 Fed. Reg. 40895-

04, 40898 (Oct. 7, 1985). In the early 1980s, AHA created the prede-

cessor to UB-04, which was adopted as the official billing form for

government programs like Medicare and Medicaid. See 42 C.F.R. §

433.112(b)(2).

      The government—and the broader health care community—

have increasingly relied on Amici’s copyrighted Coding Works. Since

the early 1980s, the government has required use of CPT in reporting

medical procedures and obtaining reimbursement under the Medi-

care and Medicaid programs, and subsequently required use of CDT

and AHA’s uniform billing forms. See id.; Nat’l Uniform Billing

Comm., About the NUBC.

      In response to the enactment of HIPAA, Pub. L. No. 104-191,

110 Stat. 1936 (1996), HHS mandated the use of CPT and CDT—for


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physician and dental services, respectively—in all financial and ad-

ministrative health care transactions sent electronically. See 65 Fed.

Reg. 50312, 50323-30 (Aug. 17, 2000). The government likewise re-

quires use of UB-04 when submitting reimbursement claims to gov-

ernment programs. See 42 C.F.R. § 424.32(b); Dep’t of HHS, Pub.

100-04, Transmittal 1104 (Nov. 3, 2006) (requiring UB-04 for billing

CMS). The government also requires use of Amici’s Coding Works for

reporting and reimbursement in the TRICARE, Children’s Health In-

surance Program, and Indian Health Services programs.2

      Creating and maintaining these Works require significant re-

sources and expertise. The AMA has spent millions of dollars main-

taining more than 10,000 CPT codes and descriptors. Through its

CPT Editorial Panel, it constantly revises, updates, and modifies CPT

to account for medical advances and changes in medical practice.

See Neotonus, Inc. v. AMA, 554 F. Supp. 2d 1368, 1371-72 (N.D. Ga.

2007) (explaining the process for adding, deleting, and modifying



2 See, e.g., TRICARE Operations Manual 6010.59-M, Chapter 8, Sec-

tion 1 and Chapter 19, Section 2 (Apr. 1, 2015 ed., updated Aug. 31,
2022) (requiring use of code sets); Indian Health Serv., Indian Health
Manual, Part 5, Ch. 1, §§ 5-1.3F, 5-1.3G (designating CPT and CDT
as required code sets, and UB-04 as a required form).

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codes), aff’d, 270 F. App’x 813 (11th Cir. 2008). The CPT Editorial

Panel has twenty-one members (the Panel chair and vice chair, twelve

members appointed by national medical specialty societies, two

members from the CPT Health Care Professionals Advisory Commit-

tee, and five representatives from organizations that could include

payers), plus two non-voting liaisons from CMS. AMA, The CPT® Code

Process. The Editorial Panel meets three times a year to consider

changes to CPT submitted by a broad range of stakeholders, includ-

ing medical specialty societies, individual physicians, hospitals, and

third-party payers. Id.

      During its meetings, the panel addresses nearly 350 major top-

ics, typically involving more than 3,000 votes on individual items. Id.

Facilitating the Editorial Panel’s work requires dozens of dedicated

support staff and substantial time commitments from panel mem-

bers and the 100+ volunteer physicians and health care professionals

on the CPT Advisory Committee. Neotonus, 554 F. Supp. 2d at 1371.

      The ADA similarly spends tremendous resources to maintain

and update CDT. See ADA v. Delta Dental, 126 F.3d at 979. The ADA’s

Council on Dental Benefit Programs is responsible for maintaining




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the CDT Code in accordance with ADA Bylaws and policy, and appli-

cable federal regulations. The Council established the Code Mainte-

nance Committee to help maintain CDT and ensure that all stake-

holders (e.g., ADA members, dental specialty organizations, and pay-

ers) have an active role in evaluating and voting on CDT Code

changes. This Committee holds public meetings annually to consider

and vote on changes to CDT. At these annual meetings, dozens of

proposed code changes are discussed, debated, and voted on to en-

sure that CDT reflects changes in dental knowledge and technology

and advances in dental care. The government and dental care deliv-

ery system reap tremendous benefits by relying on CDT and the

ADA’s continuing efforts to maintain and improve CDT.

      The same is true for the AHA’s Official UB-04 Data Specifica-

tions Manual and form. The manual and form include codes repre-

senting important information about claims for medical services pro-

vided to patients, such as the type of facility where treatment was

provided, the patient’s condition, the patient’s discharge status, the

diagnosis and procedures performed, and ancillary service or billing

arrangements. The AHA has continuously maintained and updated




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the uniform billing data set since its inception, relieving the govern-

ment of the burden and expense of maintaining and updating the

UB-04 data set.

      Amici ensure that their Coding Works remain accessible to the

public. See, e.g., PMIC, 121 F.3d at 517. For example, CMS makes

CPT available free of charge to the public as part of the Level One

component of HCPCS, under a royalty-free license. The public can

also purchase the current print edition of CPT for $134.95. The AMA

also allows members of the public to search for certain CPT codes

online at no cost through its website. See AMA, Need Coding Re-

sources?

      By supplying uniform and creative nomenclatures for medical

procedures and method for reporting billing data, CPT, CDT, and UB-

04 have become essential tools not only for efficiently processing

claims to the two largest medical payers in the country, Medicare and

Medicaid, but also for medical research and promoting interoperabil-

ity of record-keeping systems. CPT and CDT codes allow medical and

dental specialty societies to develop clinical guidelines; payers to

track utilization of medical procedures and develop alternative pay-




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ment models; and researchers and educators to develop new perfor-

mance measures, identify patients with certain medical or dental

conditions, study the incidence of those conditions, and analyze the

costs and effectiveness of treatment options.3

      UB-04 has similarly become critical to timely and accurate anal-

ysis of utilization of health care services. For example, whereas it

once took five years for the CDC’s National Center for Health Statis-

tics (“NCHS”), using surveys, to gather data about 11,000 inpatients

diagnosed with traumatic brain injury, UB-04 allows NCHS to gather

the same amount of data in just a year. Sonja Williams, et al., Div. of

Health Care Statistics, NCHS, Using Uniform Bill (UB)-04 Admin.

Claims Data to Describe Hospital-Based Care. UB-04 not only enables

NCHS to gather this data more efficiently, but it also permits NCHS

to include twice as many variables. Id. In these ways, CPT, CDT, and

UB-04 have facilitated advances in medicine and patient care at no



3 See, e.g., Aaron B. Caughey, Prepregnancy Obesity & Severe Mater-

nal Morbidity: What Can Be Done?, 318 JAMA 1765 (Nov. 14, 2017)
(using CPT codes to analyze the relationship between pre-pregnancy
obesity and maternal morbidity); Ana Neumann, et al., Evaluating
Quality of Dental Care Among Patients with Diabetes, 148 J. Am.
Dent. Assn. 634 (Sept. 2017) (using CDT codes to analyze quality of
diabetic patients’ dental care).

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cost to the government.

      The efficient administration of our health care system, both

public and private, depends heavily on the use of Amici’s Coding

Works. Without these Works, the federal government would have had

to commit enormous time and resources to creating its own code sets,

and even more resources to updating and maintaining them over the

years. The government, however, has realized the benefits of using

the best privately created works without bearing any of these costs.

II.   Privately authored works do not lose copyright protection
      when the government requires their use.

      A.   Federal legislation and regulations have consistently
           provided that required use does not divest copyright.

      The law has long assured authors that a government require-

ment to use their works does not invalidate the copyrights in those

works. To the contrary, every branch of government to consider the

issue has determined that privately owned copyrights are not di-

vested or in any way compromised by required use.

      Before the Copyright Act of 1909, copyright owners hesitated to

allow the government to use their works out of concern that such use

would invalidate their copyrights. H.R. Rep. 28192, 60th Cong., 2d




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Sess., at 10 (1909). To alleviate these concerns, Congress passed spe-

cial legislation declaring that government use did not affect the va-

lidity of copyrighted works.4 One of the earliest examples of this prac-

tice involved technical specifications somewhat analogous to those at

issue in this case.

      Specifically, the U.S. Forest Service wanted to publish a book

called “Rules and Specifications for Grading Lumber Adopted by the

Various Lumber Manufacturing Associations of the United States.”

That book included rules adopted and copyrighted by local lumber

associations. Pub. Res. No. 59-41, 34 Stat. 836 (1906). In exchange

for the associations’ consent to use their copyrighted works, Con-

gress passed a special act declaring that the copyrighted matter

“shall be as fully protected under the copyright laws as though pub-

lished by the proprietors themselves.” Id. The U.S. Department of Ag-

riculture printed the full text of the resolution just after the title page,

and noted in the introduction that “[s]everal of the associations have



4 See Pub. Res. No. 55-37, 32 Stat. 746 (1902) (providing that “copy-

righted matter, wherever it appears in [the government’s publication,]
shall be plainly marked as copyrighted matter, and shall be as fully
protected under the copyright laws as though published by the pro-
prietors themselves”).

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copyrighted their rules . . . [which] are protected by Public Resolution

No. 41.”5

      With the Copyright Act of 1909, Congress eliminated the need

to pass a special act each time the government wanted to use pri-

vately created works. As the House Report stated, “[i]t was thought

best, instead of being obliged to resort every little while to a special

act, to have some general legislation on this subject.” H.R. Rep.

28192, 60th Cong., 2d Sess., at 10 (1909). The result was a clause in

Section 7 of the 1909 Copyright Act providing that “the publication

or republication by the Government, either separately or in a public

document, of any material in which copyright is subsisting shall not

be taken to cause any abridgement or annulment of the copyright or

to authorize any use or appropriation of such copyright material

without the consent of the copyright proprietor.” The Copyright Act

of 1909, § 7, Pub. L. No. 60-349, 35 Stat. 1075 (1909).

      The Copyright Act of 1976 maintained the 1909 Act’s protection

for privately created works used by the government. Section 105 of



5 U.S. Dep’t of Agric., Rules & Specifications for the Grading of Lumber

Adopted by the Various Lumber Manufacturing Associations of the
United States (1906) (text of resolution at p.4).

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the 1976 Act excludes from copyright protection only “work[s] of the

United States government,” defined as “work prepared by an officer

or employee of the United States Government as part of that person’s

official duties.” 17 U.S.C. §§ 101, 105. The limitation to works pre-

pared by government officials as part of their duties is significant. It

does not extend to privately created works utilized by the government

unless they were government-commissioned “works-for-hire.” See

Georgia v. Public.Resource.Org, Inc., 140 S. Ct. at1506, 1508-09.

      With the language of Sections 101 and 105 of the 1976 Act,

Congress intended to preserve the exclusion of Section 7 of the 1909

Act, as the House and Senate Reports on the bill make clear. Section

7’s exclusion was necessary in the 1909 Act because the first part of

that section said that copyright protection did not extend to “any

publication of the United States Government,” which (standing alone)

might be read as withdrawing copyright protection for privately

owned works used by the government. H.R. Rep. 94-1476, 94th

Cong., 2d Sess., at 60 (1976). Section 7’s proviso resolved any ambi-

guity by preserving copyright protection for privately created works.

      The 1976 Act’s wording eliminated the need for such a proviso.

Section 105’s copyright exclusion applies only to “any work of the


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United States Government,” which is defined “in such a way that pri-

vately written works are clearly excluded from the prohibition.” Id.

Given this change in language, Congress saw “no need to restate [the

1909 Act’s Section 7 proviso] explicitly in the context of section 105”

because “there is nothing in section 105 that would relieve the Gov-

ernment of its obligation to secure permission in order to publish a

copyrighted work, and publication or other use by the Government

of a private work could not affect its copyright protection in any way.”

S. Rep. No. 94-473, 94th Cong., 1st Sess., at 57 (1975).6 Indeed,

while amending the Copyright Act several times, Congress never

amended the principle that government-required use of privately au-

thored works does not divest their copyright.

      Notably, OMB has made it clear that government adoption of

voluntary standards and works of nomenclature does not affect the

enforceability of copyrights in such works. The 1993 version of OMB

Circular A-119 stated that, although the government should adopt


6 See also H.R. Rep. 94-1476, 94-1476, 94th Cong., 2d Sess., at 60

(1976) (“The committee here observes: (1) there is nothing in section
105 that would relieve the Government of its obligation to secure per-
mission in order to publish a copyrighted work; and (2) publication
or other use by the Government of a private work would not affect its
copyright protection in any way.”).

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voluntary standards, “[s]uch adoption should take into account the

requirements of copyright and other similar restrictions.” OMB Cir-

cular No. A-119(7)(a)(5), 58 Fed. Reg. 57643, 57645 (Oct. 26, 1993).

Congress then codified the policies underlying OMB Circular A-119

as binding federal law in the National Technology Transfer and Ad-

vancement Act of 1995, § 12(d), Pub. L. No. 104-113, 110 Stat. 775

(1996), codified at 15 U.S.C. § 272.

      With this congressional endorsement, OMB revised Circular A-

119 again in 1998 to strengthen copyright protection for works used

by the government. Whereas the prior version directed agencies to

“take into account the requirements of copyright,” the 1998 version

made it explicit that agencies “must observe and protect the rights of

the copyright holder” when using privately owned works. 63 Fed. Reg.

8546, 8555 (Feb. 19, 1998).

      The January 2016 revision to OMB Circular A-119 maintained

this language, while addressing the free-access problem associated

with government use of copyrighted works. The 2016 circular encour-

ages agencies to “promote the availability of [copyrighted] materials”

that are incorporated by reference, but only to the extent it is “con-




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sistent with applicable law” and “respect[s] the copyright owner’s in-

terest in protecting its intellectual property.” OMB Circular A-119

(Jan. 27, 2016), at 21 (2016 WL 7664625, *19).

      Agencies have heeded this direction. Particularly on point is the

regulation that designated CPT and CDT as HIPAA-compliant code

sets, which states that “nothing in this final rule, including the Sec-

retary’s designation of standards, implementation specifications, or

code sets is intended to divest any copyright holders of their copy-

rights in any work referenced in this final rule.” 65 Fed. Reg. at

50324. The Federal Register and other government publications sim-

ilarly display copyright notices along with new rules that utilize the

copyrighted Works of Amici.7 Recently, HHS has reaffirmed that pri-

vately authored works such as Amici’s Coding Works, promoting in-

teroperability of health records, should not be divested of copyright



7 See, e.g., CMS, License for Use of Current Procedural Terminology;

81 Fed. Reg. 80170, 80172 (Nov. 15, 2016) (“Throughout this final
rule, we use CPT codes and descriptions to refer to a variety of de-
scriptions. We note that CPT codes and descriptions are copyright
2015 American Medical Association.”); 69 Fed. Reg. 15837, 15840
(Mar. 26, 2004) (“Displaying Material With CDT-4 Code” and display-
ing “[ADA]’s Copyright Notice”); CMS, Medicare Claims Processing
Manual, Chapter 23 (acknowledging that CPT and CDT are copy-
righted works).

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as long as the royalty charged by the copyright holder is fair and

reasonable. See 45 C.F.R. § 171.303.

      B.   Courts have confirmed that government use does not
           invalidate copyrights.

      Courts have squarely held that copyrights are not invalidated

by governmental adoption or mandated use of the work. In PMIC, 121

F.3d at 520, the Ninth Circuit held that the AMA’s copyright in CPT

is valid even though HHS required use of CPT to obtain reimburse-

ment from Medicare and Medicaid. The Second Circuit similarly has

held that state statutes requiring the use of a copyrighted compila-

tion of used car values do not destroy the copyright in that work. CCC

Info. Servs. v. Maclean Hunter Mkt. Reports, Inc., 44 F.3d 61, 73-74

(2d Cir. 1994). It later reaffirmed that holding. See Cty. of Suffolk,

N.Y. v. First Am. Real Estate Sols., 261 F.3d 179, 193-94 (2d Cir.

2001).

      Wheaton v. Peters, 33 U.S. 591 (1834) and Banks v. Manchester,

128 U.S. 244 (1888)—which held that opinions and syllabi created

by judges are not copyrightable—do not suggest that privately cre-

ated works incorporated by reference into regulations are uncopy-

rightable “laws.” As discussed in Georgia v. Public.Resource.Org, Inc.,



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140 S. Ct. 1498 (2020), decided two years after this Court’s prior

decision in this case, those cases concerned works created by gov-

ernment actors—not by private parties.

      The Supreme Court explained that the “limitation on copyright

protection for certain government work product” means that “officials

empowered to speak with the force of law . . . cannot copyright . . .

the works they create in the course of their official duties,” but that

this limitation “does not apply . . . to works created by private parties

. . . who lack the authority to make or interpret the law.” Id. at 1504,

1507. As the Court summarized, “copyright does not vest in works

that are (1) created by judges and legislators (2) in the course of their

judicial and legislative duties” (including works-for-hire commis-

sioned by a legislative body). Id. at 1508.

      Amici, like Appellants here, are private parties with no power to

make law. That is not changed when the government incorporates

parts of their copyrighted, privately created codes into regulations.

See Veeck v. S. Bldg. Code Cong. Int’l, Inc., 293 F.3d 791, 804-05 (5th

Cir. 2002) (en banc) (“The copyrighted works do not ‘become law’

merely because a statute refers to them” when it “requires citizens to

consult or use a copyrighted work in the process of fulfilling their


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obligations.”).8

III.   The “fair use” provision of the Copyright Act should not
       be broadly construed to undermine the enforceability of
       copyrights in privately created works whose use is re-
       quired by government.

       Amici’s Coding Works “are routinely copyrighted, and chal-

lenges to the validity of these copyrights are routinely rejected.” ADA

v. Delta Dental, 126 F.3d at 978. But the overbroad construction of

the “fair use” provision of Section 107 of the Copyright Act adopted

by the district court would, in effect, swallow the copyrights in these

Works by substantially limiting their enforcement—or, at a mini-

mum, create enormous transaction costs in vindicating the applica-

ble copyright. Thus, this Court should construe Section 107 in a

manner that does not subvert the recognized copyright in privately


8 Veeck held that model codes, created for the sole purpose of being

adopted as laws, are not copyrightable, but distinguished code sets
like Amici’s, which are created for independent reasons. Id. In the
certiorari proceedings in Veeck, the Solicitor General reaffirmed that
statutory or administrative references to a privately copyrighted work
do not mean that the public may copy it freely. Brief of the United
States as Amicus Curiae at 11, S. Bldg. Code Cong. Int’l, Inc. v. Veeck,
No. 02-355 (2002). The Office of the Federal Register also reaffirmed
this distinction when it rejected PRO’s petition to modify the regula-
tions governing incorporation by reference. See 78 Fed. Reg. 60784,
60792 (Oct. 2, 2013) (“[W]e agree with commenters who said that
when the Federal government references copyrighted works, those
works should not lose their copyright.”).

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created works such as Amici’s Coding Works.

      Section 107 provides that “fair use of a copyrighted work . . . for

purposes such as criticism, comment, news reporting, teaching . . . ,

scholarship, or research, is not an infringement of copyright.” It lists

four considerations to be taken into account in determining whether

a use is “fair”:

      (1)   the purpose and character of the use, including whether
            such use is of a commercial nature or is for nonprofit ed-
            ucational purposes;

      (2)   the nature of the copyrighted work;

      (3)   the amount and substantiality of the portion used in rela-
            tion to the copyrighted work as a whole; and

      (4)   the effect of the use upon the potential market for or value
            of the copyrighted work.

17 U.S.C. § 107.

      First, the “purpose and character” consideration asks “whether

the copier’s use adds something new, with a further purpose or dif-

ferent character, altering the copyrighted work with new expression,

meaning or message.” Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183,

1202 (2021) (internal quotation marks and citation omitted). If the

copier’s use “adds something new and important” (such as parody,

commentary, or criticism) it is considered “transformative” and more



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likely constitutes fair use. Id. at 1203.

      In Google, the Supreme Court held that Google’s use of certain

lines of Java programming code was transformative. But that deci-

sion was made in the context of certain computer code that, “if cop-

yrightable at all,” is far removed “from the core of copyright.” Id. at

1202. These circumstances are vastly different from those presented

in this appeal.

      In other contexts, courts have interpreted “transformation” nar-

rowly. Simply “taking” is not transformative. For example, in Dr.

Seuss Enters., L.P. v. ComicMix LLC, 983 F.3d 443, 452-55 (9th Cir.

2020), cert. denied, 141 S. Ct. 2803 (2021), the Ninth Circuit held

that a “mash-up” of Star Trek and Dr. Seuss that did not parody,

criticize, comment on, or ridicule the Dr. Seuss book on which it was

modeled was not transformative, as it simply lifted its core elements

with the purpose of “repackaging” and “evoking” (taking, not trans-

forming) the Dr. Seuss book.

      Similarly, in Andy Warhol Found. for Visual Arts, Inc. v. Gold-

smith, 11 F.4th 26, 42-43 (2d Cir. 2021), cert. granted, 142 S. Ct.

1412 (2022), the Second Circuit held that a Warhol portrait series

based on a photograph of Prince was not transformative, because


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“the overarching purpose and function of the two works . . . is iden-

tical,” both broadly as works of visual art and narrowly as portraits

of the same person—i.e., “the same work in a different form,” “re-

tain[ing] the essential elements . . . without significantly adding to or

altering those elements.” The Supreme Court has granted certiorari

and is expected to clarify the fair use issue in the context of that case.

      Regardless of how the Warhol Court rules, the use at issue here

should not be considered a fair use, as it is simply “taking” and is not

transformative. The whole point of PRO’s activity is to copy ASTM’s

standards for the precise purpose for which they were created, and

thereby to circumvent the need for others to obtain a license to use

ASTM’s standards. Likewise, those who copy Amici’s Works generally

do so for the precise purpose for which the Coding Works were cre-

ated. They do not transform anything.9


9 Two recent district court decisions suggest that publishing privately

created standards incorporated by reference into building codes is
“transformative,” on the theory that it educates the public, but fac-
tual issues remained. See Nat’l Fire Prot. Ass’n, Inc. v. UpCodes, Inc.,
No. CV 21-5262, 2021 WL 4913276, at *4-5 (C.D. Cal. Aug. 9, 2021)
(preliminary injunction denied because of uncertainty regarding fair
use defense); Int’l Code Council, Inc. v. UpCodes, Inc., No. 17 CIV.
6261, 2020 WL 2750636, at *24-25 (S.D.N.Y. May 27, 2020) (sum-
mary judgment denied on the fair use defense because of issues of
fact regarding the nature/extent of copying). However, a conclusion

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      Here, the district court effectively held that if a work is refer-

enced by or incorporated into a law or regulation, then the unau-

thorized copying and distribution of that work is transformative and

therefore a fair use. This erroneous determination undercuts the

long-established principle—recognized by Congress, federal agen-

cies, and federal courts—that required use of privately created works

like Amici’s Coding Works does not divest the copyright in those

works.

      Second, like ASTM’s standards (whose creation requires enor-

mous judgment and back-and-forth on many issues), Amici’s Coding

Works are highly creative. See ADA v. Delta Dental, 126 F.3d at 979

(explaining “[b]lood is shed in the ADA’s committees” when creating

new CDT codes and descriptions); Neotonus, 554 F. Supp. 2d at

1371-72 (explaining that the CPT Editorial Panel “is supported by a

large body of advisors . . . [including] more than 100 volunteer phy-

sicians and health care professionals”).

      Third, use of the copyrighted works in question is almost al-



that that wholesale copying is transformative on an “educating the
public” theory is incorrect: By that standard, any unauthorized use
would be transformative.

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ways substantial. Indeed, in this case PRO has copied all ASTM

standards.

      Fourth, the effect on Amici of allowing unlicensed copying and

reproduction of their Coding Works on a fair use theory would be

profound. Amici and other organizations expend tremendous re-

sources to create, maintain, and update Works like these, which they

create for multiple private purposes, independent of the use required

by the federal government. Amici depend on revenue from the licens-

ing of these copyrighted Works to be able to devote the resources

required to produce works of maximum utility reflecting changes in

knowledge, technology, and practice.

      If the ability to receive copyright royalties were undercut by an

expansive interpretation of Section 107, Amici and other organiza-

tions would lack the resources to create and maintain Works of such

high utility as CPT, CDT, and UB-04. Moreover, they would lose the

ability to prevent alteration of the Coding Works, which would un-

dermine the important goal of maintaining uniformity of codes. If cop-

iers were free to modify the codes for their own purposes without

limitation, on a fair use theory, a crucial benefit of Coding Works

would be lost. See 45 C.F.R. § 171.303.


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      In any event, invocation of the fair use defense is not necessary

to provide access to Amici’s Coding Works. Those Works are already

available in full for a reasonable royalty. At most, the fair use defense

should be available only if privately created works whose use is re-

quired by law are not readily available to the public. See, e.g., PMIC,

121 F.3d at 519.

      Amici did not develop their Coding Works for government use,

but instead to meet private needs, with utility independent of the

uses mandated by the government. But Amici allowed the govern-

ment to use these Works in reliance on the established law that such

use would not divest their copyrights. Treating unlicensed copying as

“fair use” (except in very limited situations involving real transfor-

mation and minimal copying) would, as a practical matter, divest

Amici’s copyrights—rights that Congress, regulatory agencies, and

courts have sought to preserve. This conclusion is confirmed by Sec-

tion 108 of the Copyright Act, which permits reproduction of no more

than one copy of a work by libraries and archives, and only if the

copying is not for commercial advantage. This narrow permission

would be unnecessary if wholesale copying were considered fair use.

Thus, copying of Amici’s Coding Works other than in accordance with


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Section 108 should not be deemed fair use.

      “[G]ranting authors the exclusive rights to reproduce their

works” gives them “an incentive to create,” and rewards “author[s] in

order to benefit the public.” Sony Corp. of Am. v. Universal City Stu-

dios, Inc., 464 U.S. 417, 477 (1984). This is “the best way to advance

public welfare.” Mazer v. Stein, 347 U.S. 201, 219 (1954). Organiza-

tions like Amici can create and maintain such useful Works only be-

cause the law has protected their copyrights. An expansive view of

fair use would contravene the constitutional aim of “promot[ing] the

Progress of Science and the useful Arts.” U.S. Const., Art. I, § 8.

      This Court should not find fair use where, as here, the use is

not transformative, the copying is substantial, and the copyrighted

Work is not only available for free viewing but readily available in full

for a reasonable royalty.

      Allowing fair use defenses to erode the enforceability of copy-

rights in Works such as CPT, CDT, and UB-04 would, in effect, swal-

low the copyrights in these Works by preventing, or substantially lim-

iting, their enforcement. If Amici have to litigate the fair use issue

every time a copier claims fair use, the transactional costs would

subvert the value of the copyright. Additionally, allowing unrestricted


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and unauthorized use of the Works would destroy the uniformity that

is essential to these Works’ usefulness. See ADA v. Delta Dental, 126

F.3d at 981 (“standardization of language promotes interchange

among professionals” and “variations salted through a convention

impede communication”). If, for example, entities were free to change

codes and descriptors in CPT and CDT and to substitute their own

preferred classifications or descriptions of medical or dental proce-

dures, inconsistency and confusion would inevitably result—a mod-

ern day medical/dental Tower of Babel.

                            CONCLUSION

      A broad ruling in favor of PRO would undermine the “Progress

of Science and the Useful Arts” by depriving organizations such as

Amici of (a) the resources needed to maintain the Coding Works that

are essential to the efficient functioning of our health care system,

and (b) the ability to stop third parties from creating works that sub-

vert the goal of promoting uniformity of coding. Amici therefore urge

the Court to make clear that requiring use of Coding Works for vari-

ous purposes does not divest the copyright in those Works—and that

substantial unlicensed copying of the codes when they are readily

available to users is not fair use.


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